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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division


UNITED STATES OF AMERICA                 )
                                         )
v.                                       )     1:17CR270-LMB
                                         )
RAMY SAID ZAMZAM,                        )
                                         )
               Defendant.                )
                                         )


                 RAMY ZAMZAM’S POSITION ON SENTENCING

         Ramy Zamzam’s case is a story of redemption and a man’s indomitable spirit.

For thirteen years in Pakistan Ramy was brutally tortured, but he was never

broken; his world was clipped, but his hope still fluttered. Ramy was lost – in so

many ways. Now he is grounded. Without pity or fanfare, Ramy is home. Finally. As

both the government and defense agree, home is where Ramy Zamzam should

remain.

                              PRESENTENCE REPORT

         Ramy Zamzam has reviewed the presentence report and has the following

corrections/objections:

     •   Mr. Zamzam has never used any of the aliases mentioned on page 2.

     •   Standard condition number 8 (p. 26) - Mr. Zamzam asks that he be able to
         associate with his brother who has a felony conviction from years ago. He had
         not seen his brother in 13 years prior to his return home, and has been
         reconnecting with him after so much time lost. Mr. Zamzam currently lives
         with his brother (for the past almost year) and it has not caused any issues.
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   •   Standard condition number 12 - Mr. Zamzam objects to the condition as
       worded because it is vague, without any real limitations on what could
       trigger a notification requirement and who would have to be notified. It
       therefore provides inadequate notices and improperly delegates to the
       probation officer authority that rests with the Court. See, e.g., United States
       v. Shiraz, 784 F. App’x 141, 143-44 (4th Cir. 2019) (court’s delegation to
       probation officer of what type of business defendant could operate was
       improper).

   •   Special condition number 1 - Mr. Zamzam submits that the term terrorists or
       terrorist organizations is vague and therefore provides inadequate notice.

   •   Special condition number 2 is unnecessary given that Mr. Zamzam is already
       engaged in therapy on his own and is doing well.

   •   Special condition number 3 is not reasonably related to Mr. Zamzam’s offense
       and is a greater restriction than is reasonably necessary as Mr. Zamzam’s
       involvement did not include any of the online communications with the
       recruiter, or on the related YouTube postings. If the Court deems monitoring
       necessary, Mr. Zamzam asks that it exclude computers that he uses for work
       as this could significantly impact his ability to get employment if his
       employer were to be required to install monitoring software, and in any
       event, he is only allowed to use those computers for work purposes. The
       provision on notifying others is also vague, over broad, improper delegation,
       and not narrowly tailored/related to any offense conduct.

                                   BACKGROUND

       Mr. Zamzam was born in Egypt and raised in the United States. By all

accounts he was smart, athletic, and kind. He excelled in any context. He had a

close group of supportive friends, wholesome hobbies, and a remarkable work ethic.

Ramy graduated Magna Cum Laude from Howard University with a Bachelors of

Science in biology and chemistry and then went on to attend Howard University on

a full scholarship to become a dentist. That is why, at age 22, when he and four

others went missing in December 2009, leaving behind a video describing a desire to

engage in physical jihad in Afghanistan, those in his orbit were shocked.




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                 Ramy (pictured with his mother and father) in dental school

      Their parents alerted the FBI, the young men were located in Pakistan, and

the five were swiftly captured and beaten. Pakistani law enforcement locked them

away in several remote prisons where each of the young men suffered various forms

of torture for the next thirteen years.

       The initial prison where Mr. Zamzam was held is believed to be secret

detention center run by a Pakistani intelligence agency. Mr. Zamzam was held in

solitary confinement there for approximately 25 days. His cold, damp, and dark cell

contained a blanket on a concrete floor where he slept among dirt and creatures. A

surveillance camera was on him at all times except when he was removed from his

cell for beatings. He would be blindfolded and beaten by several men, sometimes

with objects such a bat. Then, severely wounded and bleeding, he would return to

his cell to hear the sound of his friends’ beatings and their post-blow suffering.

      Mr. Zamzam’s captors would torture him mentally as well, stating that they

would kill him, that no one knew where he was, and no one would ever find him.

They threatened to pull out all his fingernails and attack him with dogs. Food was


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barely edible. Water was dirty and caused severe stomach and intestinal issues

which Mr. Zamzam continues to suffer from to this day.

      After 25 days in this facility, Mr. Zamzam was moved to a local jail where he

suffered beatings less frequently, but was still beaten, and Pakistani terrorism

charges were brought against him. Mr. Zamzam’s parents were allowed to visit him

one time there. They came because, although Mr. Zamzam did not know this, his

father was dying and he wanted to see his son one last time. Mr. Zamzam later

learned from a U.S. Embassy Official that his father had passed away. While at this

local jail, Mr. Zamzam and his friends were convicted under questionable

circumstances and sentenced to ten years.

      Mr. Zamzam began serving his sentence in Faisalabad Central jail where he

spent five years mostly in complete solitary confinement. Only occasionally during

the five-year period was he able to walk around outside of his cell, read anything, or

interact with anyone. He was beaten at this jail as well and these beatings were

unpredictable. The jail officials expected bribes, but sometimes that made one more

susceptible to being beaten. It was a no-win situation in which Mr. Zamzam was

helpless.

      Mr. Zamzam often lacked basic toiletries, was consistently hungry, and

continued to experience severe intestinal issues as a result of unsanitary conditions

and dirty water. At one point, Mr. Zamzam experienced abdominal pain so severely

that he was finally able to convince the jail officials to provide him with medical

attention at which point doctors discovered he had appendicitis and performed an




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emergency appendectomy. Mr. Zamzam engaged in a hunger strike a few times

when the conditions became so bad that it was unbearable. This would result in a

temporary change in conditions, but only briefly.

      It was at this prison where Mr. Zamzam’s friend and co-defendant, Aman

Yemer, began his rapid decline. On the rare occasions when Mr. Zamzam saw his

friend, Mr. Yemer was incoherent or nonresponsive. He saw Mr. Yemer getting

beaten in that state. This is consistent with what has been reported regarding the

Faisalabad police as well. See Justice Project Pakistan & Allard K. Lowenstein

International Human Rights Clinic Yale Law School, Policing as Torture: A Report

on Systematic Brutality and Torture by the Police in Faisalabad, Pakistan, p. 9

(2014)(“In addition to directly torturing the victims, the Faisalabad police also

forced 464 detainees to witness the torture of their friends, family members, or

other prisoners.”).1 Mr. Zamzam believes that eventually the authorities simply

drugged Mr. Yemer with sleeping pills during most of this period.

      After approximately five years at this facility, Mr. Zamzam and the others

were moved to Sahiwal prison which Mr. Zamzam describes as the worst of the

worst. This was a relatively new high-security prison so expansive that it allowed

the authorities to maximize isolation such that Mr. Zamzam could not even hear

another human being in his solitary confinement. In the four years he was

imprisoned there, Mr. Zamzam was allowed out of his cell to walk only one hour per



1 Available at

https://law.yale.edu/sites/default/files/documents/pdf/JPP_Launch_Report_050514.p
df

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day for about nine months. His only interaction with others was when he was

beaten, and for a few days when he and his co-defendants were randomly put in

cells next to each other. Otherwise, he was alone in a silent space, in a filthy cell

among insects and rodents, with little to eat and contaminated water.

      Mr. Zamzam’s captors forced him to wear fetters, or fetter-like devices, for 3-

month stretches. Fetters are leg irons that are widely outlawed and considered

torture. See Def.’s Ex. 3, Amnesty International, “Keep Your Fetters Bright and

Polished” The continued Use of Bar Fetters and Cross Fetters May 1, 1995.2 The

devices include a long metal rod between the legs to restrict movement. While

chained in these fetters, Mr. Zamzam had to hoist the center bar to walk, but

because the bar is also short, walking could only be achieved while hunched over.

Sleeping in the leg irons was physically excruciating because the rod is positioned in

a way that causes the legs to contort while lying down. Individuals in fetters often

cannot properly use the bathroom because clothes cannot be removed. In Mr.

Zamzam’s case, sharp screws donned inside of the rings around his ankles, causing

cuts and bleeding any time he moved. See id. (“[A former Pakistani prisoner]

described the fetters as ‘unpolished, with rough sharp edges’ which rub the ankles

sore and rupture the skin.”)(citation omitted). If Mr. Zamzam was moved from one

location to another, a hood was placed over his head. He again engaged in a few

hunger strikes with little results. The officials there did everything they could get

away with to break him, both mentally and physically.



2 Available at https://www.amnesty.org/en/documents/asa33/012/1995/en/



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      Indeed, the abuses by Pakistani authorities in this context have been well

documented. “Human Rights Watch has long documented the widespread use of

torture and other ill-treatment by the Pakistani police during criminal

investigations. Criminal suspects from marginalized groups are at particular risk of

police abuse. Methods of torture include beatings with batons and littars (leather

straps), stretching and crushing legs with roola (metal rods), sexual violence,

prolonged sleep deprivation, and causing severe mental anguish, including by

forcing detainees to watch other people being tortured.” Pakistan: Make Torture a

Crime, Human Rights Watch (August 23, 2022);3 see also Torture in Pakistan, Asian

Human Rights Commission (“In spite of the prohibition of torture in the

constitution, the Pakistan Army is running detention and torture cells in almost

every city in the country. The Asian Human Rights Commission in a report has

identified 52 such detention centres which are run by the military, where people

who were arrested and disappeared are kept incommunicado and tortured for

several months to extract the confession statements.”).4

      When Mr. Zamzam’s sentence had finally run, he was moved from this prison

to a detention facility for foreigners where he was no longer beaten or in solitary

confinement. He reunited with co-defendants, Mr. Mini and Mr. Yemer. There, he

found that Mr. Yemer was now so broken he was simply a shell of the friend he once

was. During the two and a half years that the three of them spent waiting for their




3 Available at https://www.hrw.org/news/2022/08/23/pakistan-make-torture-crime
4 Available at http://www.humanrights.asia/tortures/torture-in-pakistan/



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repatriation, Mr. Zamzam and Mr. Mini spoon-fed Mr. Yemer who could no longer

feed himself, they dressed him, walked him from place to place, and even changed

and cleaned his soiled clothes when Mr. Yemer went to the bathroom on himself, as

he was now unable to control even these bodily functions. Mr. Zamzam begged

authorities to help treat Mr. Yemer, but his pleas fell flat. Finally, almost 13 years

after their departure from the United States, and 3 years in excess of their

Pakistani sentence, Mr. Zamzam was released to the custody of the FBI and

returned home to face these criminal charges.

                                    ARGUMENT

I.   Legal Standard

     Since the Guidelines were held to be advisory in United States v. Booker, 543

U.S. 220, 226 (2005), imposing a sentence is no longer a strictly mathematical

exercise. While “a district court shall first calculate (after making the appropriate

findings of fact) the range prescribed by the guidelines,” United States v. Hughes,

401 F.3d 540, 546 (4th. Cir. 2005), district courts must now make “an individualized

assessment based on the facts presented” after calculating the advisory Guidelines

range. Gall v. United States, 552 U.S. 38, 50 (2007). The Guidelines range is but one

of several factors a court must consider when imposing a sentence and it is legal

error to treat those ranges as default sentences. See United States v. Mendoza-

Mendoza, 597 F.3d 212, 216-17 (4th Cir. 2010); Nelson v. United States, 555 U.S.

350, 352 (2009) (per curiam); Spears v. United States, 555 U.S. 261, 263-64 (2009). A

court must also weigh the factors enumerated in 18 U.S.C. § 3553(a) when imposing




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a sentence.

     Taking into account the factors enumerated in § 3553(a), which state that a

judge must “impose a sentence sufficient, but not greater than necessary’ to

accomplish the goals of sentencing,” Kimbrough v. United States, 552 U.S. 85, 101

(2007) (quoting 18 U.S.C. § 3553(a)), courts are not required to point to

“’extraordinary’ circumstances to justify a sentence outside the Guideline range.”

Gall v. United States, 552 U.S. 38, 47 (2007). A below-Guidelines sentence may be

appropriate if the Court determines that the Guideline sentence “falls outside the

‘heartland’ to which the Commission intends individual Guidelines to apply,

perhaps because the Guidelines . . . fails to properly reflect § 3553(a) factors.” Rita

v. United States, 551 U.S. 338, 351 (2007)(citation omitted).

     The factors for the district court to consider include: (1) the nature and

circumstances of the offense and the history and characteristics of the defendant, (2)

the kinds of sentences available, (3) the Guidelines range, (4) the need to avoid

unwarranted sentencing disparities, (5) the need for restitution, and (6) the need for

the sentence to reflect: the seriousness of the offense, to promote respect for the law,

to provide just punishment for the offense, to afford adequate deterrence to the

defendant and others, to protect the public from further crimes of the defendant,

and to provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment. See 18 U.S.C. § 3553(a). The Court

must weigh each of these factors when determining the appropriate sentence with

the least amount of imprisonment necessary pursuant to §3553(a). Id.




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II.   A sentenced of time-served is sufficient but not greater than necessary
      to achieve the goals of sentencing.

      To say that Mr. Zamzam has already been punished for his offense would be

an understatement. To say that he steadily persevered with gratitude and positivity

would be the same. Both the government and defense agree that no further

incarceration is warranted. For the reasons detailed below, the Court should

likewise sanction this agreed resolution.

      A.     Mr. Zamzam’s offense was a brief aberration from his otherwise
             outstanding history and character.

      For an individual who spent thirteen years being tortured in a Pakistani

prison, it would be easy to return home wallowing in self-pity and excuses. Yet, true

to his character, Mr. Zamzam did exactly the opposite. He did not let his thirteen

years of torture break him. He persevered through his darkest days abroad and

deftly navigated his disorienting return to a changed world. One of the first actions

he took was to start volunteering at a local food pantry. Then, within ten days of

returning, he had his first job. He quickly reconnected with his friends and family,

reinitiated his education, and became a valued employee (and promoted) at more

than one—indeed, four, jobs. He currently works as technical support at a

technology company, in the customer service dept at a home improvement company,

and at a few restaurant jobs part time.

      Ramy is also pursuing educational goals, specifically a masters’ degree in

business administration followed by a masters’ degree in information technology.

He has confirmed that he meets all of the requirements for both of these programs.




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He also plans to apply to the International Relations PhD program at American

University. These educational endeavors are not simply theoretical ideas. Mr.

Zamzam has taken concrete steps to begin this process, delaying his start only

through the pendency of this case. To that end, Mr. Zamzam has: acquired

necessary official transcripts; collected letters of recommendation; and discussed

academic and admission requirements with three different academic advisors at the

university. He has also visited American University’s campus and discussed the

admissions process with faculty there and corresponded with them online as well.

He currently meets the requirements except for having a GRE score, so he is

currently studying to take the GRE.

      Ramy lives with his two brothers and mother. Far from feeling constrained in

their small apartment, he relishes the time he now has with them, having missed so

much. Knowing that life is short, having already lost his father, Ramy spends as

much free time as he can with his family, just enjoying the mere fact of being in

their presence – something he will never again take for granted.




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                   Ramy and his mother on his ﬁrst day of freedom




                                visiting his father’s grave


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    Just days after returning home after thirteen years in a Pakistani prison, Ramy Zamzam hits
    the ground running, interviewing for jobs and exploring educational opportunities.

       Also of note is Ramy’s exceptional performance on pretrial release. Any

requirement or task that is asked of him, he completes with genuine purpose and a

quiet diligence. Ramy has achieved all of these recent endeavors, and still carries

himself, with unwavering grace and gratitude for the mere fact of being free.

       Others have attested to his high character, dedication to his family, and

strong work ethic as well.

       His younger brother wrote:




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Def.’s Ex. 2.

       Mr. Zamzam’s mother wrote to the court about his demeanor and dedication

to his community. She wrote:




Id.

       His partner, Hana Abdulhakim, wrote of how supportive he is as a partner

for her career and their plans for a future together:




       Lastly, his brother, Mahmoud, wrote of his kind heart and mentorship from

an early age:




Id.



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       B.       Nature and circumstance of the offense

       The nature and circumstances of Ramy’s offense are straightforward. A group

of Ramy’s friends approached him with their plans of fighting against U.S. and

allied forces abroad in Afghanistan and Ramy, after taking some time to research

and consider it, agreed to join them. As with most of his endeavors, Ramy then

emersed himself in this short-lived pursuit, even helping to create a video that

would be left behind explaining their cause. He has an acute awareness of his

wrongdoing and, understandably, now a profound appreciation for this country. See

Def.’s Ex. 1.

       C.       The Guidelines range is not rooted in empirical evidence and
                artificially increases Mr. Zamzam’s criminal history category.

     “[The terrorism] guideline was enacted pursuant to a congressional directive

and absent empirical evidence. Such guidelines do not exemplify the Sentencing

Commission's exercise of its characteristic institutional role and are generally

entitled to less respect.” United States v. Dais, 482 F. Supp. 3d 800, 803 (E.D. Wis.

2020)(citing Kimbrough v. United States, 552 U.S. 85, 109 (2007); United States v.

Reyes-Hernandez, 624 F.3d 405, 418 (7th Cir. 2010); United States v. Alhaggagi, 372

F. Supp. 3d 1005, 1014 (N.D. Cal. 2019)(rev’d on other grounds)). In fact, this Court

has noted this lack of empirical basis as well, stating “The guidelines are not based

on any empirical research. There has been no study to determine how much time a

terrorist should have…” Hon. Gerald Bruce Lee, Symposium, Convicted Terrorists:

Sentencing Considerations and Their Policy Implications, 8 J. Nat’l Security L. &

Pol'y 347, 361 (2016). As such, this Court should give little, if any, weight to the



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advisory Guidelines range.

     Not only is the terrorism guideline itself unsupported by empirical data, the

terrorism guideline is “contrary to the theory behind the guidelines: that the offense

level will reflect the seriousness of the offense, increasing incrementally based on

specific aggravating facts, and the criminal history category will reflect the risk to

the public, based on the defendant's prior record.…Terrorism cases are undoubtedly

serious, but automatically increasing a defendant's criminal history to reflect the

seriousness of the charged offense seems misguided.” Dais, 482 F. Supp. 3d at 803

(internal citations omitted).

     As the court explained in Alhaggagi, 372 F. Supp. 3d at 1013 the offense level

reflects the seriousness of the charged conduct. “A defendant's criminal history

category reflects something different.” Id. (citing United States v. Martinez, 931 F.2d

851, 852 n.1 (11th Cir. 1991) (“the distinction between the calculation of the offense

level and the calculation of the criminal history category is important insofar as

‘each calculation concerns a conceptually separate notion related to sentencing.’”)

(quoting United States v. Goolsby, 908 F.2d 861, 863 (11th Cir. 1990)(emphasis in

original)).

     Absent the terrorism enhancement, Mr. Zamzam would have a criminal history

score of zero, reflecting his otherwise entirely law-abiding life. Treating him as

though he were a career criminal because of his offense is “illogical and unjust.”

Alhaggagi, 372 F. Supp. 3d at 1016. Therefore, because the guidelines are not

rooted in an empirical evidence and because Mr. Zamzam’s criminal history score is




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artificially inflated with no sound basis, the Court should give little weight to the

guidelines range.

      D.     A sentence of time-served adequately reflects the seriousness of the
             offense, promotes respect for the law, provides just punishment and
             deterrence.

      There can be no question that Mr. Zamzam has already been punished

severely. In fact his punishment has been so severe that it transcended domestic

and international standards. In that sense, Mr. Zamzam’s experience has far

exceeded what could be considered just punishment—it was draconian and cruel.

      Moreover, the goal of rehabilitation and deterrence has already been

achieved. Ramy’s perspective has completely transformed after 9 years of solitary

confinement, routine beatings, and watching his friend’s life all but slip away

knowing that he should have, and maybe could have, talked them all out of this

horrific plan. Ramy is so grateful just to sit in the sunshine or alongside his mother,

that he asks for little else. He has experienced the horrors of another life. He has no

plans, and no desire, to veer from this positive existence he is finally rebuilding.

Ramy has proven himself to be responsible, sincere, and productive.

      This has been confirmed by forensic evaluation as well. After interviewing

Mr. Zamzam, performing a series of examinations, reviewing case evidence, and

speaking with Mr. Zamzam’s family, the licensed clinical psychologist wrote, “By all

accounts, Mr. Zamzam presents with almost none of the historical or clinical factors

associated with an increased level of violence risk or criminal recidivism… He

expresses remorse for his actions in the instant offense, as well as worry about the




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negative consequences that he and others have experienced as a result. All

available information suggests that he is similar in most relevant respects to

offenders who present with little risk for recidivism, violence, or supervision

failure.” See PSR, ECF No. 134-3 at 12-13. Not only is Mr. Zamzam a low risk for

reoffending, but sending him to prison at this point could cause both him and

society greater harm. The expert psychologist opines that “[a]ll available

information suggests that he is more likely to benefit from treatment than from

further incarceration. In fact, a more lengthy period of incarceration only increases

the probability that he will be re-traumatized and that his significant progress with

be derailed.” Id. at 13.

                                   CONCLUSION

       Mr. Zamzam has been severely punished for his actions beyond all reasonable

measure. He has somehow managed to remain steadfastly positive, productive, and

grateful. He is finally home, and as the government and defense agree, home is where

Mr. Zamzam should remain. He asks this Honorable Court to impose time-served and

supervised release.

                                        Respectfully submitted,
                                        RAMY SAID ZAMZAM
                                        By Counsel

                                               /s/________________
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 25th day of July, 2023, I filed the foregoing
pleading through the ECF system, which shall then send an electronic copy of this
pleading to all parties in this action.



                                             ______/s/_____________
                                             Jessica N. Carmichael, Esq.




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